Case 23-13359-VFP        Doc 931     Filed 06/23/23 Entered 06/23/23 15:44:37           Desc Main
                                    Document      Page 1 of 3



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
OFFIT KURMAN, P.A.
By: Paul J. Winterhalter, Esquire (006961986)
100 Eagle Rock Avenue, Suite 105
East Hanover, NJ 07936
Telephone: (267) 338-1370
Facsimile: (267) 338-1335
E-mail: pwinterhalter@offitkurman.com

Counsel for
Saul Holdings Limited Partnership
                                                           Chapter 11
In re:
                                                           Case No. 23-13359
BED, BATH & BEYOND, INC.,
                                                           Judge: Vincent F. Papalia
                               Debtor.



                                                                CURE OBJECTION
                                                           OF SAUL HOLDINGS LIMITED
                                                                 PARTNERSHIP



          CURE OBJECTION OF SAUL HOLDINGS LIMITED PARTNERSHIP
                               (Store #164)

         Saul Holdings Limited Partnership (“Saul”), by and through its counsel, hereby objects to

 the Debtors’ stated cure amount, and in support states:

         1.     Saul is the lessor for real property known as Store #164 located at 2848 NW 63rd

 Street, Oklahoma City, OK 73116 (the “Premises”) located at French Market Shopping Center in

 Oklahoma City, Oklahoma (the “Center”), pursuant to that certain Lease Agreement dated

 September 12, 1997 (as amended and/or modified) (the “Lease”).
Case 23-13359-VFP                Doc 931       Filed 06/23/23 Entered 06/23/23 15:44:37        Desc Main
                                              Document      Page 2 of 3



            2.        On June 13, 2023, the Debtors filed their Notice to Contract Parties to Potentially

 Assumed Executory Contracts and Unexpired Leases (the “Notice”) (ECF No. 714).

            3.        On Exhibit A to the Notice, Debtors assert that the Cure Amount for the Lease is

 $0 (the “Alleged Cure Cost”).

            4.        The actual current monetary Cure Amount due under the terms of the Lease is

 $170,043.12 (through June of 2023), consisting of the following (the “Actual Cure Amount”):

     Prorated rent for April 1, 2023 – April 22, 20231                                       $35,112.22
     Amounts due as a result of mechanic’s lien filed by Federal                             $44,371.80
     Heath Sign Company LLC
     Amounts due as a result of mechanic’s lien filed by Advanced                            $88,059.10
     Systems, Inc.
     Attorneys’ Fees                                                                          $2,500.00
     TOTAL                                                                                  $170,043.12


            5.        With respect to the above-referenced mechanic’s liens, Saul provided notice to

 Debtor Bed Bath & Beyond Inc. on April 14, 2023 (“Saul’s Notice”), that it must take all steps

 necessary to remove or satisfy the mechanic’s liens within thirty (30) days in accordance with

 Section 54 of the Lease, which provides:

            Whenever and as often as any lien arising out of or in connection with any work
            performed, materials furnished or obligations incurred by or on behalf of Tenant shall
            have been filed against the Premises or the Shopping Center, or if any materials,
            machinery, fixtures used in the construction, repair or operation thereof, or annexed
            thereto by Tenant, Tenant shall forthwith take such action by bonding, deposit or payment
            as will remove or satisfy the lien or conditional bill of sale within thirty (30) days of
            Landlord’s written request therefor.”

 A true and correct copy of the Saul’s Notice is attached hereto as Exhibit 1.

            6.        Furthermore, 11 U.S.C. § 365(b)(1)(B) requires compensation to Saul for sums

 incurred for attorneys’ fees in connection with the bankruptcy case. Saul requests $2,500.00 as

 reasonable attorneys’ fees associated with the possible assumption and assignment of the Lease.


 1
     Debtors paid Saul for the pro-rated post-petition portion of rent for April of 2023.

                                                        Page 2 of 3
Case 23-13359-VFP                Doc 931    Filed 06/23/23 Entered 06/23/23 15:44:37            Desc Main
                                           Document      Page 3 of 3



           7.           Finally, Saul asserts that Debtors must remove certain portable storage units from

 the common areas of the Center. On June 5, 2023, Saul notified Debtors that the tenant was in

 default of the Lease, by its use of the common areas of the Center for storage outside the Premises

 by placing five portable storage units in the common areas. Saul’s June 5, 2023 letter demanded

 removal by July 5, 2023, and the tenant has not yet complied. Pursuant to 11 U.S.C. §

 365(b)(1)(A), the failure to remove the storage units is a default that is not impossible to cure,

 thus making it a default that must be cured. Alternatively, assuming arguendo that this default is

 “impossible for the trustee to cure,” the default constitutes a “failure to operate in accordance with

 a non-residential real property lease,” which “shall be cured by performance at and after the time

 of assumption in accordance with such lease, and pecuniary losses resulting from such default

 shall be compensated in accordance with the provisions of [11 U.S.C. § 365(b)(1)(A)].”

           WHEREFORE, Saul respectfully requests that the Court condition the proposed

 assumption and assignment upon the prompt payment of the Actual Cure Amount and the removal

 of the five portable storage units.

                                                      Respectfully submitted,

                                                      OFFIT KURMAN, P.A.

                                                      By:    /s/ Paul J. Winterhalter
                                                             PAUL J. WINTERHALTER
                                                             100 Eagle Rock Avenue, Suite 105
                                                             East Hanover, NJ 07936
                                                             Telephone: (267) 338-1370
                                                             Facsimile: (267) 338-1300
                                                             E-mail: pwinterhalter@offitkurman.com

                                                             Counsel for Saul Holdings Limited
                                                             Partnership

 Dated: June 23, 2023
 4868-6637-3740, v. 1




                                                   Page 3 of 3
